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ATTORNEYS
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July 16, 2019

Hon, Elizabeth 8. Stong

U.S. Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800

Re: Kelvin D Payton
Case No.: 1-18-46141-ess
Property Address: 114-16 173rd Street, Saint Albans, NY 11434

Dear Honorable Elizabeth S. Stong:

Please be advised that a Motion for Relief from Stay (the “Motion”) was filed on behalf
of Wells Fargo Bank, N.A. as servicing agent for Morgan Stanley Mortgage Capital Holdings
LLC, successor-in-interest by merger to Morgan Stanley Mortgage Capital, Inc., in the above-
captioned bankruptcy case on July 16, 2019. The hearing on the Motion is scheduled for August
15, 2019 at 10:00AM. Wells Fargo Bank, N.A. as servicing agent for Morgan Stanley Mortgage
Capital Holdings LLC, successor-in-interest by merger to Morgan Stanley Mortgage Capital, Inc.
specifically waives the requirements of Bankruptcy Code 362(e).

If you have any questions, please do not hesitate to contact our office.
Very truly yours,

WOODS OVIATT GILMAN LLP
/S/ Aleksandra K. Fugate, Esq.

Aleksandra K. Fugate, Esq.

Ce:

Norma E. Ortiz

Kelvin D Payton

Franshara Hunter

Marianne DeRosa

Office of the United States Trustee

Deborah Kall Schaal

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Any information obtained by them may be used for that purpose.
